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IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF IOWA JUL 18 2019
CLERK U.S. DISTRICT COURT
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UNITED STATES OF AMERICA, ) TRCT OFIOWA
) Criminal No. 4:19-CR-00095
V. )
) INDICTMENT
JONA SHITALENI PAULUS, )
) T. 18 U.S.C. § 2252A(a)(2)
Defendant. +) T. 18 U.S.C, § 2252A(a)(5)(B)
) T. 18 U.S.C. § 2252A(b)(1)
) T. 18 U.S.C. § 2252A(b)(2)
) -T.18 U.S.C. § 2253
)
THE GRAND JURY CHARGES:
COUNT 1

(Receipt of Child Pornography)

On or about April 5, 2019, in the Southern District of Iowa, the defendant, JONA
SHITALENI PAULUS, knowingly received child pomography, as defined in Title 18, United
States Code, Section 2256(8)(A), that had been, using any means and facility of interstate and
foreign commerce, shipped and transported in and affecting interstate and foreign commerce by
any means, including by computer.

This is a violation of Title 18, United States Code, Section 2252A(a)(2) and 2252A(b)(1).

THE GRAND JURY FURTHER CHARGES

COUNT 2
(Possession of Child Pornography)

On or about April 9, 2019, in the Southern District of Iowa, the defendant, JONA
SHITALENI PAULUS, knowingly possessed material, namely, an Apple iPhone model

Apple/ISSI cellular phone, that contained images of child pomography as defined in Title 18,

 
United States Code, Section 2256(8)(A), such images having been shipped and transported using
any means and facility of interstate and foreign commerce and in and affecting interstate and
foreign commerce by any means, including by computer, and such images having been produced
using materials that had been shipped and transported in and affecting interstate and foreign
commerce by any means, including by computer.

This is a violation of Title 18, United States Code, Section 2252A(a)(5)(B) and

2252A(b)(2).

 
THE GRAND JURY FINDS:
Notice of Forfeiture

If the defendant, JONA SHITALENI PAULUS, is convicted of the offense alleged in

Counts | or 2 of this indictment, the defendant shall forfeit to the United States his interest in the

following property:

a.

Any and all visual depictions of minors engaging in sexually explicit conduct,
including any book, magazine, periodical, film, videotape, or other matter which
contains any such visual depiction, which was produced, transported, mailed,
shipped or received in violation of Title 18, United States Code, Chapter 110.

Any property, real or personal, used or intended to be used to commit or to
promote the commission of such offense, including but not limited to an Apple
iPhone/ model A1661 cellular telephone (serial number BCG-E3087A1C579-
E3087A).

This is pursuant to Title 18, United States Code, Section 2253.

A TRUE BILL.

FOREPHRSON

Mare Krickbaum
Unite ates Atto

 

Laura M. Roan
Assistant United States Attorney

 
